     Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 1 of 46 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI



CELESTINE and ALLEN IRVING, HELENE and
JAMES SCHRANTZ, CONNIE HENLEY,
CALVIN and SANDRA MORRISON, JANE and
DENNIS EBERT, and SHARON and RICHARD
HATTON, individually and on behalf of all others
similarly situated,


                       Plaintiffs,
v.


ORANGE LAKE RESORTS and HOLIDAY INN                  Case No.:
CLUB VACATIONS,
                                                     JURY TRIAL DEMANDED

Serve defendant Holiday Inn Club Vacations at:


            Corporation Service Company
            221 Bolivar Street
            Jefferson City, MO 65101
And serve Defendant Orange Lake Resorts at:




            120 S. Central
            Clayton, MO 63105


                         Defendants.




                                          Page 1 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 2 of 46 PageID #: 2




                       PLAINTIFFS’ CLASS ACTION COMPLAINT
       COME NOW Plaintiffs, by and through undersigned counsel, and as representatives of a

class of persons similarly situated, and for the Class Action Complaint against the Defendants

named herein, state as follows:

                                       INTRODUCTION

       This is a class action against a Florida Company alleging uniform and common

material omissions in the sales presentation that it makes and has made to time share owners

in multiple states in the USA, including Missouri, and involving resorts in multiple states in

the USA, including Missouri. Silverleaf, Inc. was a time share company based out of Texas.

In 2015, Silverleaf was acquired by Orange Lake Resorts, who also owns Holiday Inn Club

Vacations, which it purchased in 2016, and operates today all of the resorts mentioned in this

complaint. Orange Lake Resorts, who dominates the vacation ownership industry, operates

the Holiday Inn Club. The Holiday Inn Club Vacations brand was created in 2008 through a

strategic alliance with IHG (InterContinental Hotels Group), one of the world’s largest and

wealthiest hotel companies.

       Defendants use a high-pressure scheme that involves convincing prospective

purchasers to buy into its vacation timeshare program while failing to adequately disclose

material and legally required information to buyers. Through this scheme, Defendants (a) fail

to adequately provide legally required disclosures and (b) fail to provide purchasers with

adequate access to their timeshares, as follows:

       A.      Defendants fail to adequately provide customers with legally required disclosures.

       Specifically:




                                           Page 2 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 3 of 46 PageID #: 3




               1.      Defendants failed to adequately train and supervise its sales agents, fails to

provide them with disclosures to give to prospective customers, and encouraged them to lie to

customers in the context of high-pressure sales pitches.

       B.      Defendants failed to provide purchasers adequate access to their timeshares.

       Specifically:

               1.      Defendants failed to adequately disclose to purchasers that their timeshare

interest will be subject to a “floating use” plan.

               2.      Defendants failed to adequately describe to purchasers the terms of the

“floating use” plan.

               3.      Defendants’ “floating use” plan failed to provide purchasers reasonable

access to their timeshares.

       As a result of the common scheme, Defendants’ owners are left paying thousands of dollars

in purchase price, upgrade costs, and annual maintenance fees, all on timeshare units they are

frequently unable to use as advertised, and rarely, if ever, are able to use as reasonably expected.

       Defendants’ aggressive business model relies on one essential premise: it makes

money by selling shares in property units, not by customers using the weeks they have

purchased in those units. In fact, Defendants have a strong incentive to sell as many

ownership shares as possible in a piece of property. It can then further increase its profits by

limiting owners’ use of the units so they can be rented out by Defendants for additional profit

or used by Defendants as sample units to sell timeshare properties to new buyers. In this way,

Defendants profit many times by selling and overselling various interests in one piece of

property; it can sell it repeatedly at a premium, rent it repeatedly, and repeatedly use it as a

tool to induce new sales—sometimes all at once. Defendants uniformly fail to adequately



                                             Page 3 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 4 of 46 PageID #: 4




disclose material facts to buyers and, as a result, fail to deliver what buyers reasonably expect

all in violation of Missouri common law and statutory law.

                                  JURISDICTION AND VENUE

        1.       Subject matter jurisdiction is proper in this Court pursuant to the Class Action

Fairness Act, 28 U.S.C. § 1332(d). The federal Class Action Fairness Act (CAFA) provides

for federal jurisdiction over a “class action.” 28 U.S.C. § 1332(d)(1)(A).

        2.       Representative Plaintiffs seek to represent the following class under Federal Rule

of Civil Procedure 23(b)(3): All persons who signed time share agreements with Holiday Inn

Club Vacations (including corporations that have been purchased by Defendants) since October 1,

2010.

        3.       Plaintiffs reserve the right to modify the Class definition as they obtain further

information through discovery.

        4.       The number of Class members is believed to be at least in the hundreds and may be

in the thousands, making the Class so numerous that individual joinder of all Class members is

impracticable.

        5.       Plaintiffs are members of the proposed class.

        6.       There are questions of law and fact common to Plaintiffs and to the proposed Class,

including but not limited to the following:

                 a.     Whether knowingly material misrepresentations and/or omissions were

made to Class members at sales meetings.

                 b.     Whether Defendants’ actions have damaged Plaintiffs and other Class

members.




                                              Page 4 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 5 of 46 PageID #: 5




                 c.      Whether Plaintiffs and Class members are entitled to cancel their timeshare

agreements, and

                 d.      Whether Plaintiffs and Class members are entitled to declaratory,

injunctive, and equitable relief to stop further acts.

        7.       Plaintiffs’ claims are typical of the claims of Class members

        8.       Plaintiffs’ interests do not conflict with those of Class members, and they will fairly

and adequately protect the interests of Class members.

        9.       Common questions of law and fact predominate over questions affecting only

individual Class members, and a class action is superior to other methods for the fair and efficient

adjudication of this controversy.

        10.      The interest of Class members in individually controlling the prosecution of

separate claims against Defendants is small due to the time and expense necessary to pursue

individual litigation.    Management of these claims in a class action poses no significant

impediments.

        11.      Defendants have acted on grounds generally applicable to the Class, thereby

making final injunctive relief and corresponding declaratory relief with respect to the Class as a

whole appropriate.

        12.      Between Plaintiffs and Defendants there exists at least “minimal diversity” as “any

member of a class of plaintiffs is a citizen of a State different from any defendant.” §§

1332(d)(2)(A).

        13.      The aggregate amount in controversy as to all Plaintiffs’ claims exceed $5 million.

§§ 1332(d)(2).




                                             Page 5 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 6 of 46 PageID #: 6




       14.     At least three Plaintiffs have claims that satisfy the $75,000 individual amount in

controversy requirement 28 U.S.C. §§ 1332(a).

       15.     This Court has both general and specific personal jurisdiction over Defendants

because Defendants have continuous and systematic general business contacts in this State.

Defendants own, maintain, operate, collect payments, and/or derive revenue from the sale of

property in this State, and had contact with this District specifically with respect to the events

giving rise to Plaintiffs’ and Class Members’ claims.          Defendants have purposefully and

voluntarily availed themselves of this Court’s jurisdiction by engaging in and/or profiting from

real property transactions in this State.

       16.     This Court has both general and specific personal jurisdiction over Defendants,

including under Missouri’s Long Arm Statute, V.A.M.S. § 506.500, et seq., because Defendants

have continuous and systematic general business contacts in Missouri. Defendants own, maintain,

operate, collect payments, and/or derive revenue from the sale of property in Missouri, and had

contact with Missouri specifically with respect to the events giving rise to Plaintiffs’ and Class

Members’ claims. Defendants have purposefully and voluntarily availed themselves of this Court’s

jurisdiction by engaging in and/or profiting from real property transactions in Missouri.

       17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) because a substantial

part of the events and omissions giving rise to Plaintiffs’ claims occurred in this State, and the

property that is the subject of this action is situated in this State. Defendants conduct substantial

business in this State and District, has marketed, advertised, and sold timeshare properties in this

State, and has caused harm to Class Members residing in this State and District.

       18.     Any purported forum selection clause in the contract at issue in this case is invalid

and unenforceable, to the extent that the contract at issue in this case, and/or each portion thereof,



                                            Page 6 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 7 of 46 PageID #: 7




resulted from misrepresentation, fraudulent inducement, duress, abuse of economic power, or other

unconscionable means. The forum-selection clause at issue here is a contract of adhesion that

Plaintiffs and members of the proposed class had no opportunity to negotiate and requiring

Plaintiffs and members of the class to litigate in Defendants’ choice of forum would be unjust.

                                            PARTIES

Plaintiffs:

       19.     Plaintiffs Allen and Celestine Irving are residents of St. Louis, Missouri.

       20.     Plaintiffs Helene and James Schrantz are residents of Dundas, Minnesota.

       21.     Plaintiff Connie Henley is a resident of Crete, Illinois.

       22.     Plaintiffs Calvin and Sandra Morrison are residents of Charlotte, North Carolina.

       23.     Plaintiffs Jane and Dennis Ebert are residents of Lowell, Arkansas.

       24.     Plaintiffs Sharon and Richard Hatton are residents of Lakeview, Arkansas.

Defendants:

       25.     Defendant Holiday Inn Resorts is a Florida Limited Liability company, whose

principal place of business is 8505 W. Irlo Bronson Memorial Hwy, Kissimmee, FL 34747, and

with a registered agent located at: Corporation Service Company, 221 Bolivar Street, Jefferson City,

MO 65101

       26.     Defendant Orange Lake Resorts is a Florida Limited Liability company, whose

principal place of business is 9271 S. John Young Parkway, Orlando, FL 32819, with a

registered agent located at 120 S. Central, Clayton, MO 63105

       27.     John Doe is an unnamed Defendant at this time, who has worked for one of the

afore-referenced Defendants.




                                           Page 7 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 8 of 46 PageID #: 8




       28.     At all times herein mentioned, each of the Defendants was the agent, servant,

partner, aider and abettor, co-conspirator and/or joint venture of each of the other Defendants and

was at all times operating and acting within the purpose and scope of said agency, service,

employment, partnership, conspiracy and/or joint venture and rendered substantial assistance and

encouragement to the other Defendants, knowing that their collective conduct constituted a breach

of duty owed to Plaintiffs and injured Plaintiffs.

       29.     At all times herein mentioned, Defendants and each of them, were fully informed

of the actions of their agents and employees, and thereafter no officer, director or managing agent

of Defendants repudiated those actions, which failure to repudiate constituted adoption and

approval of said actions and all Defendants and each of them, thereby ratified those actions.

       30.     There exists and, at all times herein mentioned, there existed a unity of interest in

ownership between certain Defendants and other certain Defendants such that any individuality

and separateness between the certain Defendants has ceased and these Defendants are the alter ego

of the other certain Defendants and exerted control over those Defendants. Adherence to the

fiction of the separate existence of these certain Defendants as entities distinct from other certain

Defendants will permit an abuse of the corporate privilege and would sanction a fraud and/or

would promote injustice.

                                  FACTUAL ALLEGATIONS

The Timeshare Industry

          Repeated Sales of the Same Property Drive the U.S. Timeshare Industry

       31.     The U.S. timeshare industry was founded in the early 1970s, a period of economic

stagnation and soaring energy costs, when hotel and resort developers struggled to sell full

ownership condominium properties. Instead of selling an actual condominium, developers



                                            Page 8 of 46
   Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 9 of 46 PageID #: 9




realized, they could sell “ownership shares” to many customers, each of which theoretically gives

an owner the right to use the property (or a similar property) for certain amounts of time per year.

       32.     This simple notion—dividing one condominium or resort property into “ownership

shares” and selling it over and over again, to dozens of different buyers—is the fundamental

concept that has given rise to the profitable modern timeshare industry. By selling a vacation

timeshare unit incrementally, a timeshare developer makes far more money than if it sold the same

unit to one buyer for the market price. As an illustration, a timeshare developer can build 150

condominiums, each of which might sell for $200,000 on the open market; using a timeshare

approach, the developer could sell two-week timeshares in each unit, for a total of 26 “timeshares,”

for, say, $20,000 each. By using the timeshare scheme, the developer’s investment brings a return

of $520,000—2.6 times greater than the $200,000 it would have grossed selling to one buyer.

(Defendants takes this scheme several steps farther: it sells many more than 26 timeshares in each

unit, exponentially increasing its profits while knowing that the unit will rarely or never be

available for purchasers to use them.)

       33.     Timeshare business is booming. According to the Association of Vacation Owners,

the size of the annual timeshare market is $9.2 billion, with 9.2 million American households

owning some form of timeshare. In 2015, approximately 9.2 million American households owned

timeshares. There were 1,547 timeshare resorts in the United States, with approximately 200,720

units available to be divided up and sold repeatedly. The timeshare industry sold $8.6 billion worth

of timeshares to consumers in 2015, with an average sales price of $22,240 and average

maintenance fees of $920. See Howard Nusbaum, “Local Perspective on the Global Timeshare

Industry,”    September     21,    2016,     available    at    http://www.rdoconference.org/wp-

content/uploads/2016/09/a-global-perspective-howardnusbaum.pdf;           see    also     Gretchen



                                           Page 9 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 10 of 46 PageID #: 10




Morgenson, “The Timeshare Hard Sale Comes Roaring Back,” New York Times, January 24, 2016,

available at https://www.nytimes.com/2016/01/24/business/ diamond-resorts-accused-of-using-

hard-sell-to-push-time-shares.html.

       34.     The industry is currently experiencing a period of substantial growth. Timeshare

sales volume has increased by more than 33% since 2011, the industry reports, an average of 7%

annually. In the most recent year for which data is available, sales volume rose from $8.6 billion

218 in 2015 to $9.2 billion in 2016, a nearly seven percent increase. This is part of a seven-year

growth trend: in 2015, sales volume increased by nearly 9%, the second-largest percentage

increase since the housing market collapse of 2008 caused the Great Recession.

       35.     These corporations loan money to consumers to finance the purchase. They then

convert the timeshare promissory notes into securities that are rated and sold in the financial

markets.

       36.     The timeshare industry’s record profits are driven by sales of ownership shares, not

its customers’ use and enjoyment of their properties. In fact, a timeshare business makes money

every time someone makes a down payment or monthly payment on a timeshare, including paying

steep annual “maintenance fees,” but when people use the properties, it prevents the timeshare

developer from renting that property to another customer or using it to entice a prospective

purchaser to buy a timeshare. Selling units to new customers and selling nicer units to existing

customers is the lifeblood of the timeshare industry.

       37.     The timeshare business has been a breeding ground for fraudulent sales tactics like

those employed by Defendants as detailed herein. Since its founding in the early 1970’s, the

industry has relied on “sneaky come-ons” to trap consumers in “multi-hour presentations complete

with high-pressure sales tactics.” Consumer Reports, “The Timeshare Comes of Age,” Feb. 23,



                                          Page 10 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 11 of 46 PageID #: 11




2016, available at http://www.consumerreports.org/travel/the-timeshare-comes-of-age/. In recent

years, lawsuits and news reports have documented “high pressure sales tactics involving deliberate

lies and misrepresentations to get people to buy more timeshare ‘points.’” New York Times, “My

Soul      Feels       Taller:        A    Whistleblower’s        $20       Million       Vindication,”

https://www.nytimes.com/2016/11/25/business/my-soul-feels-taller-a-whistle-blowers-million-

vindication.html. Among the tactics used by one prominent timeshare business: “TAFT” days,

where employees were encouraged to “Tell Them Any Frigging Thing” to make a sale, as long as

they didn’t put it in writing. Id.

           Defendants’ Failure to Disclose Material Facts to Timeshare Purchasers

        38.     To effectuate its scheme detailed herein, Defendants uses high-pressure sales

tactics to induce prospective purchasers to buy into its vacation timeshare program while failing

to disclose material and legally required information to them. Among other material omissions,

Defendants’ scheme includes the following elements:

                a.      In Missouri, a timeshare estate is an interest in real property, and a timeshare

use is a contractual right of exclusive occupancy. Timeshare sales and closing agents are licensed

and /or regulated by the State. As part of their scheme, Defendants fail to adequately train or to

supervise their sales agents, and, in fact, encourage their sales agents to utilize high-pressure sales

tactics which violate the Missouri Merchandising Practices Act, the Missouri Time-Sharing

Regulation, and the common law.

                b.      The Missouri Time-Sharing Regulation requires timeshare developers and

sales agents to deliver various disclosures to timeshare purchasers.

                c.      The Missouri Time-Share Regulation contemplates that purchasers of a

timeshare should receive clear and accurate information about their purchase. As part of their



                                            Page 11 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 12 of 46 PageID #: 12




scheme, the Defendants fail to adequately disclose to purchasers that they are not purchasing a

share in a specific unit but are instead buying into a “floating use plan”; they fail to adequately

disclose how the “floating use plan” actually works; and they fail to adequately disclose that the

Defendants may delay delivery of a deed to the purchasers for a period of years;

               d.      As part of their Scheme, the Defendants fail to disclose to purchasers that

because Defendants oversells and artificially restricts the availability of Resort properties (by, for

example, renting the properties to non-owners, using the properties as model units, selling to

purchasers when no units are available to be deeded, and closing units for maintenance), they will

not be able to use their timeshare purchase as advertised or as would be reasonably expected – or

sometimes at all – in violation of the Missouri Time-Sharing Regulation requirements that

timeshare developers must disclose restrictions on use or occupancy, develop and use reasonable

arrangements to manage the timeshare program, and avoid making misleading or deceptive

representations about it.

       39.     Defendants sales agents pressure purchasers to sign a series of complex and

misleading legal documents without giving purchasers the opportunity to read—or in some cases,

see—the documents they are signing (in some cases electronically). Only months later, when the

new timeshare owners attempt to reserve vacation time in “their” unit, do they learn that

Defendants made knowingly false representations that Plaintiffs relied on when purchasing the

time share.

                    Defendants Uses High-Pressure Sales Tactics to Trick
                 Consumers into Making Purchases They Do Not Understand

       40.     To effectuate their scheme, Defendants agents approach vacationers on the street,

in restaurants, and at other public areas. They offer them free tickets to local attractions, discounts




                                            Page 12 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 13 of 46 PageID #: 13




on timeshare purchases, and vouchers for free meals in order to entice them to take a tour of the

Resort.

          41.   Once these vacationers arrive at the Resort for the tour, Defendants agents subject

them to a high-pressure sales pitch—in some instances lasting as long as eight hours—designed to

ensure that they do not leave without purchasing a timeshare property. Defendants agents attempt

to persuade prospective purchasers by telling them that a timeshare is cheaper than paying for

future vacations, but that they must act immediately in order to take advantage of supposedly

discounted prices.

          42.   The high-pressure sales tactics do not stop once Defendants completes a sale:

existing owners face constant pressure from Defendants agents and employees to upgrade to nicer

units. For example, Defendants assigns owners a “concierge,” supposedly to assist them with

booking and other transactions, but in fact the concierge is a sales person who pressures owners to

“upgrade” their prior purchase—selling back their initial property and purchasing a nicer, larger,

or deluxe property.

                         Defendants Fails to Tell Owners That They
                      Cannot Reasonably Use and Enjoy Their Property

          43.   Defendants represent to prospective purchasers that as timeshare owners, they

will have no difficulty using their timeshare unit whenever they want, provided they book with

notice.

          44.   In reality, Defendants fail to disclose that timeshare owners are routinely unable

to book units in the Resort with as much as 12 months’ notice. Timeshare owners have made

repeated attempts to book a stay during their allotted time, only to be told by Defendants’

officials that there is no availability at the Resort. As a result, many Class Members have been

entirely unable to use their timeshare property for an entire year.

                                           Page 13 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 14 of 46 PageID #: 14




       45.     Defendants specifically don’t disclose to purchasers that tens of thousands people

own timeshare properties at a single Resort, with some owners “owning” multiple “weeks,”

limiting each owner’s ability to use and enjoy the timeshare property for which he or she paid.

       46.     Likewise, Defendants do not disclose to purchasers that it sets aside a substantial

number of units in the Resort as vacation rentals, further restricting the supply of units available

for timeshare owners to use. In other words, Defendants choose to rent units out—including the

specific units it lists in deeds of sale to timeshare owners—instead of making them available to

owners. In some instances, as described more fully below, Defendants have told a timeshare

owner that there is no availability in the unit type listed on his or her deed, but the owner then

finds the same unit type listed on Defendants’ website as a vacation rental, with proceeds going

to Defendants. Furthermore, Defendants do not inform purchasers that certain purchasers may

not receive a deed, for a period of years, but will still be able to make reservations, thereby

diluting the availability for existing owners.

       47.     Finally, Defendants do not inform purchasers that it sets aside large numbers of

demonstration units for the near-constant tours and sales efforts it uses to generate new timeshare

business. Because the profitability of Defendants’ timeshare business largely depends on sales

of new and upgraded units, the Resort devotes substantial resources to high-pressure sales tours,

during which dozens to hundreds of prospective purchasers are brought each day through many

of the nicest timeshare units at the Resort. None of these units are available to the owners during

these events who have legitimately paid for the right access to them.

                          Defendants Fail to Adequately Inform Purchasers
                       That They Are Not Purchasing a Share in a Specific Unit

       48.     Defendants sales agents give purchasers the impression that they are purchasing the

right to use a specific unit at the Resort. In actuality, they are participating in Defendants’

                                           Page 14 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 15 of 46 PageID #: 15




“Floating Use Plan,” which gives owners the right to use a certain type of unit, subject to

availability. And units are rarely, if ever, available to “owners,” as advertised or expected.

       49.       The purchase documents Defendants drafts and requires purchasers to sign lead

them to believe that they are purchasing a share in a specific unit in the property. For example,

the Warranty Deeds drafted by Defendants and signed by Plaintiffs state that they have the “right

to occupy, pursuant to the Plan,” specific units at the Resort. However, in the fine print of

Defendants’ Floating Use Plan, purchasers relinquish their rights to possess and use specific units

at the Resort. Defendants sales agents do not disclose this to purchasers during the high-pressure

sales process.

       50.       Defendants does not even give owners the right to use similar units at the Resort.

Despite making repeated representations in the high-pressure sales pitches that owners can book

their specific unit, or an identical one, for use anytime in the time period purchased, Defendants

routinely prevents owners from booking the unit type. In this way, Defendants’ “floating use”

plan, which it does not adequately describe to timeshare purchasers, fails to provide purchasers

reasonable access to their timeshares.

             Because the Resort is Oversold, Defendants Fails to Deliver Deeds to Owners

       51.       Defendants routinely fails to deliver warranty deeds to owners because it sells more

timeshare properties than the fractional interests it possesses, leaving it without sufficient deeds to

provide owners.

       52.       When purchasers buy a timeshare property at the Resort, the warranty deed should

be recorded by Defendants with the local County Register of Deeds. Recording the warranty deed

protects purchasers from title claims by third parties, and conversely, the failure to properly record

the warranty deed leaves purchasers vulnerable to such claims.



                                            Page 15 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 16 of 46 PageID #: 16




           53.    Purchasers of timeshare properties at the Resorts had told that Defendants will

record their Warranty Deed and send them a copy. Nor do Defendants tell purchasers that in some

cases, it has not recorded their deed. As a result, purchasers reasonably believe that their property

transaction will be duly recorded, and their real property interest is protected from claims by third

parties.

           54.    Defendants’ routine failure to record warranty deeds further proves Defendants’

pattern and practice of overselling the Resort: it cannot record and deliver deeds because it sells

more fractional interests in real property than actually exist. Defendants’ attempt to remedy this

failure with hidden contract language only demonstrates that Defendants is in the business of

defrauding its customers. However, Defendants have ceased this practice, and instead of providing

purchasers with deeds, Defendants now provide purchasers with “points”

                           Specific Allegations of Wrongful Conduct by
                       Defendants as to Plaintiffs Allen and Celestine Irving

           55.    Plaintiffs Allen and Celestine Irving reside in St. Louis, MO.

           56.    Plaintiffs Irving Allen purchased a timeshare in Kissimmee, Florida at Orange

           Lake Resort from Defendants on September 8, 2014.

           57.    Plaintiff was pressured to take the deal in a presentation that lasted over 4 hours at

           several different conference rooms at the Orange Lake Resort with several different sales

agents of Defendants.

           58.    After the exhaustive sales pitches of Defendants’ agents, Plaintiffs Irving and

Celestine Irving executed a contract with Defendants’ “Quality Assurance Officer” named

“Kathleen M. ________ (last name on spelled in contract and is illegible, appears to be “Joulle”)

           59.    Plaintiffs were worn down by the sales team through being sent from one sales




                                              Page 16 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 17 of 46 PageID #: 17




        agent to another. Plaintiffs were told that this was a “today only” price and that he could

not leave and think about this purchase before making it.

        60.     Defendant’s agents told Irving that he could rent the timeshare out for a profit, that

the timeshare was a good investment, and that he needed to upgrade to use his timeshares as points

through Defendants’ “point system.”

        61.     Plaintiffs detrimentally relied on Defendants’ knowingly false statements when the

entered the time share contract with Defendants.

        62.     Plaintiffs were later told by Defendants that he could not rent out his timeshare

interest, even to family.

        63.     Plaintiff was misled by the Defendants’ agents that he was purchasing property that

could be rented out to pay for his maintenance fees and that buying his second property would

allow for him to convert his timeshares into points to be used for hotel stays.

        64.     Plaintiff later learned that all the foregoing representations made by the Defendants’

agents were false. Plaintiff was misled as he did not believe that he would was purchasing a

property that would be a burden to his family members and heirs. Plaintiffs believed that he would

be able to easily exit the timeshare without issue. They were never able to rent out their property

and no agent of Defendants assisted them.

        65.     Defendants’ agents falsely claimed that the Plaintiffs’ maintenance fees would not

increase in any significant way, if at all.

        66.     Plaintiffs detrimentally relied on these knowingly false statements made by

Defendants.

        67.     In fact, Plaintiff’s maintenance fees increased substantially each year and have

almost doubled, as of 2020.



                                              Page 17 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 18 of 46 PageID #: 18




       68.     Plaintiffs would not have purchased the time share interest at issue, but for

Defendants’’ knowingly false misrepresentations.

                          Specific Allegations of Wrongful Conduct by
                            Defendants as to Plaintiff Connie Henley

       69.     Plaintiff resides in Illinois.

       70.     Plaintiff Connie Henley is an owner at Defendant’s resort who purchased two

timeshares, one in Missouri and one in Illinois.

       71.     In 2018, Plaintiff was pressured into buying points for a second timeshare after

Holiday Inn took over the Silverleaf operated timeshare. Plaintiff was told that her ability to use

benefits that she had used in the past were no longer available when the timeshare was purchased

by Holiday Inn.

       72.     Plaintiff was told that they were about to attend an “Owners” meeting that ended

up being another high-pressure sales pitch. Plaintiff was pressured through a presentation that was

supposed to be 90 minutes but lasted for hours.

       73.     Plaintiff was told that they had to purchase the property “today and today only.”

Plaintiff was told that they had to purchase the second timeshare to convert their timeshare into

points and that they would be able to take cruises with the points they received.

       74.     Plaintiff was misled by the misrepresentations of the sales manager. Plaintiff has

not been able to take the cruise that she was told she would be able to. Plaintiff feels rushed and

unable to truly look over her documents. Plaintiff wanted to consult an attorney when given the

contract by Holiday Inn and was unable to do so due to the high-pressured sale.

       75.     Plaintiff has had both financial and medical hardships since the high-pressure sale

of the second timeshare. Plaintiff has reduced income and has had multiple hip and knee

replacements since.

                                                Page 18 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 19 of 46 PageID #: 19




                        Specific Allegations of Wrongful Conduct by
                    Defendants as to Plaintiffs Helene and James Schrantz

       76.     Plaintiffs reside in Minnesota.

       77.     Plaintiffs had been long time timeshare owners but were convinced to change to

“Signature Points” in 2015 while vacationing in Branson, Missouri.

       78.     This change to “Signature Points” were incredibly expensive for the Plaintiffs and

Plaintiffs complained to the company in 2019.

       79.     Defendant’s agent Taylor Frommelt told the Plaintiffs that they would be unable to

get out of the “Signature Points” program without having to sign another contract. Plaintiffs felt

that they had to sign a new contract or else they would be further burdened under the “Signature

Points” program.

       80.     Plaintiffs were misled and misrepresented as they were pressured into signing yet

another contract to alleviate their financial burdens to Defendants. Plaintiffs ended up spending

more money to try and rid themselves of the obligation they had with the “Signature Points”

program.

       81.     Plaintiffs are both in their 80s and have health and mobility problems which limit

their abilities to move, walk and travel.

                        Specific Allegations of Wrongful Conduct by
                   Defendants as to Plaintiffs Calvin and Sandra Morrison

       82.     Plaintiffs Calvin and Sandra Morrison reside in North Carolina.

       83.     Plaintiffs purchased 150,000 points at Defendant’s Ozark Mountain Resort in

Kimberling City, Missouri. Plaintiffs bought their timeshare points in October 2019.

       84.     Defendants’ falsely stated that Plaintiffs could use their point at any resort, and

Plaintiffs believed that they were purchasing points they could use at a Florida resort.



                                            Page 19 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 20 of 46 PageID #: 20




         85.   Plaintiffs only learned that their points were tied to the Missouri resort after

receiving their documents from Defendants.

         86.   Plaintiff felt coerced and pressured into making a purchase. The presentation was

said to only take a short while but ended up being an all-day ordeal.

         87.   Plaintiffs were shown a nice suite in their presentation but were unable to stay in

those units because they were not in their “points level.”

         88.   Plaintiffs have multiple medical issues and Calvin Morrison is a veteran. Plaintiff

Sandra Morrison has early onset of dementia as well.

                            Specific Allegations of Wrongful Conduct by
                          Defendants as to Plaintiffs Jane and Dennis Ebert

         89.   Plaintiffs reside in Arkansas.

         90.   Jane and Dennis Ebert have owned a timeshare in Branson, MO since March 1999.

The Plaintiffs have used their timeshare less than 25 times and have not used it for the past 10

years.

         91.   Plaintiffs were under the impression that they owned their week of the timeshare

and that they were buying an investment that would increase in value.

         92.   Plaintiffs were told that a timeshare is cheaper than paying for future vacations.

Plaintiffs were told that they could rent their timeshare out to others for a profit. These promises

never came to fruition.

         93.   Plaintiffs’ maintenance fees have increased substantially to the point that they

would not have bought it if they knew that it would increase that much.

         94.   Plaintiffs were given another high-pressure sales pitch after being told that they

would be attending an “Owners” meeting.




                                           Page 20 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 21 of 46 PageID #: 21




       95.     Plaintiffs were told that they had to purchase the property “today and today only.”

The Plaintiffs felt pressured and coerced to decided right away, if not they would not get the “today

only price.”

       96.     Plaintiffs have medical expenses including a recent surgery for bladder cancer and

back problems. Plaintiffs are unable to travel now.

                        Specific Allegations of Wrongful Conduct by
                    Defendants as to Plaintiff Sharon and Richard Hatton

       97.     Plaintiffs reside in Arkansas.

       98.     Sharon and Richard Hatton have been long time customers and owners of a

Silverleaf resort in Branson, Missouri. They have had this timeshare since 1997.

       99.     Plaintiffs, after being approached by Defendants’ agents, Jacob Moore, Stephanie

Hopewell, Agent #59654, and Russell Beach, Agent #59653, agreed to upgrade to the “points

system” on June 23, 2017 at the Branson resort timeshare.

       100.    Defendants’ agents told the Hattons the following: they could rent the timeshare

out for a profit; maintenance fees would only increase slightly, if at all; and, ownership was much

cheaper than taking an independent vacation to the resort.

       101.    The Hattons felt pressured to take the deal in a presentation that lasted several

hours. Defendants’ agents told them that their purchase was a special deal that was only available

that day.

       102.    The Hattons were misled by the sales agents because Defendants’ agents told them

that they were purchasing real property that could be sold later.

       103.    The Hattons later learned all the foregoing representations made by the Defendants’

agents were false. They were never able to rent out their property and no agent of Defendants was

available to assist them. Maintenance fees increased substantially each year. The Hattons have

                                           Page 21 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 22 of 46 PageID #: 22




learned it is actually cheaper to book stays at the resort from other online booking websites. The

Hattons have had situations where they have tried to use their timeshare and were told it was

booked and then called the resort which said they had rooms available at the same place at the

same time.

       104.    In or around early June 2018, Plaintiffs had a reservation with the Branson

timeshare. Due to a tornado striking Branson, their room were unavailable. Instead of finding

Plaintiffs lodging elsewhere, or otherwise being of service to them, Defendants simply cancelled

the reservation at the Branson resort.

                 GENERAL ALLEGATIONS COMMON TO PLAINTIFFS

       105.    All Plaintiffs attended Defendants sales presentations where they either bought a

new timeshare membership or upgraded their existing Defendants timeshare membership.

       106.    Plaintiffs subsequently learned the representations made by the Defendants agents

were false. Plaintiffs now feel lied to and misled.

       107.    As part of the various sales presentations, Plaintiffs are taken on a tour. Plaintiffs

were shown a luxury suite which was represented by Defendants agents as what they were

purchasing, but that later learned was not available at their level of ownership.

       108.    Defendants agents told Plaintiffs that they would always get to stay at their first

choice of property, that making reservations would never be a problem, and they could travel to

any part of the world.

       109.    Defendants agents would assure Plaintiffs that they could easily vacation anywhere

in the world by signing up them up though the RCI or Interval International exchange programs.

However, the Defendants agents never disclosed to Plaintiffs that they would have to pay an

additional membership fee to take advantage of the exchange programs.



                                           Page 22 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 23 of 46 PageID #: 23




       110.    Plaintiffs are often not able to use the property they thought they were purchasing.

       111.    Plaintiffs have found that making reservations is difficult every time with many

issues that arise each time, with a reservation process that is confusing and inconsistent.

       112.    Defendants agents will often tell Plaintiffs that they cannot make a reservation at

the property they purchased because it is always full, or that it is not possible to stay in those rooms

because of the type of contract they currently have.

       113.    Upon arriving at the resort, Plaintiffs often discover they had been assigned a

different room than the one they believed they “owned.” The room they were assigned to was one

of noticeably lesser quality.

       114.    When Plaintiffs complain, Defendants agent informed them that their room and all

others were booked.

       115.    Plaintiffs feel lied to because the Defendants agents they had purchased the

ownership from told them they had the right to use the timeshare they paid for and that they would

always be assigned to their purchased unit.

       116.    If Plaintiff complain regarding their treatment, Defendants agents would offer to

upgrade to their status, but only if they paid additional money to join Interval International or the

RCI exchange program.

       117.    Additionally, every time Plaintiffs have been able to reserve and utilize their

timeshare, Defendants agents have told them that they were required to go to an owner update

meeting. The Defendants agents explain that they had to attend the owners update meeting because,

as an owner, it was their duty to be informed about the latest changes. However, all the owners

meeting they have attended have turned out to be another sales presentation.




                                            Page 23 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 24 of 46 PageID #: 24




        118.   On many occasions where Plaintiffs were able to utilize reservations, they found

the rooms dirty, there was no housekeeping service available, bug infested, and had to clean the

room themselves.

        119.   Plaintiffs found the room they were able to stay at was below the standards of what

was represented to them at the sales presentation and they learned they could not get a better room

unless they upgraded rooms each year.

        120.   Regarding the Plaintiffs who were upsold, Defendants agents informed them that

such presentations are “mandatory” owners’ meetings.

        121.   At the upsell meetings, Plaintiffs are often told that they must upgrade right away

because their building was scheduled for maintenance and they would not be able to use it until it

was finished. Plaintiffs felt that the only choice to save their investment was by signing the

upgrade.

        122.   As part of the upsell presentations, Defendants agents would often inform those

Plaintiffs that something was purportedly “wrong” with their contracts and convince them to sign

an even more onerous contract that they would be obligated to.

        123.   Defendants agents told Plaintiffs their family members and friends could use the

timeshare for free during their purchased week.

        124.   Instead, Plaintiffs had to pay additional fees to let family and friends use their

membership.

        125.   Defendants agents told Plaintiffs they were purchasing real property that could be

sold later.

        126.   Plaintiffs reasonably believed the deed that was recorded was evidence that they

had purchased an interest in real property.



                                          Page 24 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 25 of 46 PageID #: 25




        127.    Defendants agents told Plaintiffs they would be able to rent their timeshare out for

a profit, making more than enough to pay for both their maintenance fees and mortgage payments.

The Defendants agent promised Plaintiffs that Defendants has a special department ready to help

them rent their timeshare. The Defendants agent assured them that the process of renting was a

very simple procedure.

        128.    However, Plaintiffs later found out that Defendants will not help them rent their

timeshare and no Defendants agent is available to assist them.

        129.    Defendants agents told Plaintiffs that maintenance fees were fixed, would never

increase, or only increase slightly, if at all.

        130.    Plaintiffs’ maintenance fees have increased substantially over the last three years.

        131.    Defendants agents told Plaintiffs that ownership was much cheaper than taking an

independent vacation to the resort.

        132.    It is cheaper for Plaintiffs to book stays at the resorts from other online booking

websites.

        133.    Defendants agents told Plaintiffs that their timeshare purchase was an investment

that would increase in value over time.

        134.    Contrary to the value of the property increasing, Plaintiffs were forced to upgrade

to maintain their level of reservations because their ownership had devalued.

        135.    Increase, instead of the value increasing, similar properties resell on eBay for $1.

        136.    Plaintiffs felt pressured to take the deal in a presentation that lasted several hours.

        137.    Plaintiffs were not offered any food during their time at the presentation

        138.    To increase the pressure at the sales presentation, Plaintiffs are alternatively

confronted by three Defendants agents.



                                              Page 25 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 26 of 46 PageID #: 26




       139.      If a prospective sale refuses to buy, the Defendants agents began getting visibly

angry and raising their voices.

       140.      Defendants agents told Plaintiffs that their purchase was a special deal that was

only available that day. Plaintiffs were told that if they bought the Defendants timeshare that day,

they would get a discounted price.

       141.      Plaintiffs were told that being a Defendants timeshare property owner entitled them

to benefits and access which was limited exclusively to Defendants timeshare owners only.

       142.      Defendants agents offered Plaintiffs free gifts, such as a “free” week in Orlando,

Florida, or a “free” cruise, but were never actually given the gift of found later there was an

additional cost to claim the gift that they would have to pay themselves.

       143.      Defendants agents told the Plaintiffs that they could always later sell the timeshare

later and that Defendants had buyers waiting.

       144.      Defendants agents told the Plaintiffs that if they wanted to sell, they should go back

to Defendants who would give them the best deal.

       145.      Additionally, Plaintiffs have been charged Special Assessments for remodeling

units they do not even own.

       146.      If Plaintiffs explained that they could not afford to purchase the timeshare,

Defendants agents would tell Plaintiffs they could not leave until they spoke with the manager.

After waiting for an extended period of time, the manager would arrive “find a way” for them to

afford the purchase.

       147.      When Plaintiffs were unable to meet normal lending criteria, Defendants agents

would devise special payment arrangements so Plaintiffs would still sign the contract to purchase

the timeshare.



                                            Page 26 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 27 of 46 PageID #: 27




       148.    Defendants agents at the purchase told them they could refinance the timeshare at

a lower rate later, but ty later learned that banks will not refinance timeshares. Agents at the

Defendants resort later told them that they are not responsible for what the Mitchells were told in

the sales presentation.

       149.    Plaintiffs are not reasonably given any information about the recission period,

exiting the time share, or that there was a statutorily required grace period for getting out.

       150.    In cases where Defendants agents did tell Plaintiffs that they had a legal right to

rescind or cancel their purchase within three days, Defendants agents refused to explain how to

execute the same.

  STATUTES OF LIMITATION, FRAUDULENT CONCEALMENT, AND ESTOPPEL
                                              Discovery Rule

       151.    The causes of action did not accrue until Plaintiffs discovered, or could have

discovered with reasonable diligence, the facts omitted and/or concealed by Defendants.

Plaintiffs had no realistic ability to discern the true nature and value of their timeshare property

purchases because Defendants’ subsequent actions and omissions defined Plaintiffs’ ability to

use and enjoy their properties.

                                         Fraudulent Concealment

       152.    Any applicable statutes of limitation have been tolled by Defendants’ knowing,

active, and ongoing concealment and denial of the material facts as alleged herein. Defendants is

a sophisticated party with superior knowledge of complex real estate and business transactions.

Defendants was and is under a continuous duty to disclose to Plaintiffs the material facts alleged

herein, and Plaintiffs reasonably relied on Defendants’ knowing, affirmative, and ongoing

concealment.



                                           Page 27 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 28 of 46 PageID #: 28




        153.    Plaintiffs have been kept ignorant by Defendants of vital information essential to

the pursuit of these claims, without any fault or lack of diligence on their part.

                                               Estoppel

        154.    Defendants was and is under a continuous duty to disclose to Plaintiffs the true

character, quality, and nature of the timeshare properties and transactions as alleged herein. That

concealment is ongoing. Plaintiffs reasonably relied on Defendants’ knowing failure to disclose

and/or active concealment of those facts. Defendants is estopped from relying on any statutes of

limitation in defense of this action. Additionally, Defendants is estopped from raising any defense

of laches due to its own conduct as alleged herein.

        155.    Plaintiffs make the following specific fraud allegations with as much specificity as

possible, although they do not have access to information necessarily available only to Defendants:

                a.      Who: Defendants, including each of the alter ego Defendants identified in

this Complaint, and their agents, servants, and employees utilized a scheme to encourage the active

concealment of legally required disclosures (including but not limited to the fact that Plaintiffs had

a right to rescind the purchase) and other material facts about the timeshare transactions from

Plaintiffs while simultaneously representing that Plaintiffs could use and enjoy their timeshare

units whenever they wished, as alleged above. Plaintiffs are unaware of, and therefore unable to

identify, all the names and identities of those specific individuals at Defendants responsible for

such decisions.

                b.      What: Defendants knows but fails to adequately disclose to purchasers that:

they are not purchasing a share in a specific unit but are instead buying into a “floating use plan,”

in which each timeshare owner’s fractional interest is diluted many times more than if that person

purchased the right to use a particular unit; because Defendants artificially restricts the availability



                                            Page 28 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 29 of 46 PageID #: 29




of Resort properties, they will not be able to use an expected Resort property when desired,

rendering the “floating use plan” inadequate in violation of Missouri Time-Sharing Regulation,

Mo. Ann. Stat. § 407.625.

               c.      When: Defendants has not adequately disclosed the truth about the true

nature and availability of timeshare properties at the Resort, nor purchasers’ legal rights including

the right to rescind the transaction and receive a warranty deed, to anyone outside of Defendants.

Defendants has never taken any action to inform consumers about the true nature and availability

of the timeshare properties at the Resort, or purchasers’ rights with respect to the transactions. And

when consumers complained to Defendants about the unavailability of properties, Defendants

denied any knowledge of or responsibility for the problem, in many cases attempting to sell

purchasers new or upgraded timeshare properties.

               d.      Where: Defendants concealed material information regarding the true

nature and availability of the timeshare properties, and purchasers’ rights in the transaction, in its

communications with Plaintiffs and made contrary representations about the nature and availability

of the timeshare properties. Plaintiffs are aware of no document, communication, or other place

or thing, in which Defendants adequately disclosed the truth about the lack of availability of

timeshare properties to anyone outside of Defendants. Even where certain legal disclosures were

included in the fine print of a sales contract or other purchase document, the documents themselves

were often concealed from Plaintiffs by commission-based sales and closing agents through the

use of a folio containing a secret pocket and the other high-pressure sales tactics described herein,

including statements from licensed sales agents which materially contradict the disclosure.

               e.      How: Defendants concealed material information regarding the true nature

and availability of the timeshare properties, and purchasers’ rights in the transaction, at all times,



                                           Page 29 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 30 of 46 PageID #: 30




even though it knew about the lack of availability of timeshare properties due to Defendants’

artificial restriction of them, and about the legally required disclosures (including the right to

rescind), and knew that this information would be important to a reasonable consumer. Defendants

concealed this information by using high-pressure sales tactics, commission-based sales agents,

and burying important consumer protection sections deep within a 15 page contract.             The

purchasers are instructed to just sign the last page, as opposed to the more common and ethical

promise of having purchasers at least initial each page of their timeshare contracts.

               f.      Why: Defendants actively concealed material information about the

timeshare transactions, the legally inadequate floating use plan, the purchasers’ ability to use and

enjoy their purchase, and each purchaser’s right to rescind the transaction for the purpose of

inducing Plaintiffs to purchase timeshare properties and, once they owned timeshare properties, to

purchase additional timeshare properties and services from Defendants. Had Defendants disclosed

the truth, for example in its sales pitches, advertisements, or other materials or communications,

Plaintiffs (and reasonable consumers) would have been aware of it, and would not have bought

timeshare properties (including by exercising their right to rescind their purchase contracts), or

would have paid less for them.

                          FORCE AND EFFECT OF CONTRACTS

       156.    Defendants’ contracts with purchasers are either void ab initio or voidable and

should be rescinded and avoided.

       157.    Defendants’ contracts with purchasers are void ab initio because they are premised

upon a fraud, as more fully detailed herein.

       158.    Defendants’ contracts with purchasers should be rescinded and avoided because

they violate statutes enacted for the protection of the public interests and specifically for the



                                           Page 30 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 31 of 46 PageID #: 31




protection of timeshare purchasers, including but not limited to the Missouri Merchandising

Practices Act, Mo. Code Ann. § 407.010, et seq., the Missouri Time-Sharing Regulation, Mo.

Ann. Stat. § 407.600, et seq..

           159.   Defendants’ contracts with purchasers should be rescinded and avoided because

they are based on fraudulent omissions including the failure to disclose to purchasers, inter alia,

that they are not purchasing a share in a specific unit, that Defendants oversells the Resort, that

purchasers cannot reasonably reserve and use their timeshare unit, and that purchasers have a

statutory right to rescind the contract, all as more fully detailed herein.

           160.   Defendants’ bargaining power is far superior to that of purchasers, and it enters into

timeshare contracts by unconscionable means, including under circumstances where Defendants

has undue influence over purchasers, and/or circumstances that constitute duress and/or an abuse

of economic power, as more fully detailed herein. For all these reasons, Defendants’ contracts

with purchasers should be rescinded and avoided.

                COUNT I-VIOLATION OF THE MISSOURI MERCHANDISING
              PRACTICES ACT AND MISSOURI TIME-SHARING REGULATION
                               (Against all Defendants)
           161.   Plaintiffs hereby re-allege and incorporate by reference verbatim all of the previous

allegations of this Complaint as if the same were fully set forth herein.

           162.   At all relevant times there was in effect Missouri Merchandising Practices Act, Mo.

Code Ann. § 407.010, et seq., the Missouri Time-Sharing Regulation, Mo. Ann. Stat. § 407.600,

et seq..

           163.   Section 407.630.1 of the Missouri Time-Sharing Regulation provides, in

pertinent part, A time-share plan or time-share property is merchandise under the provisions of

this chapter and the sale or offering for sale of such plans or property shall be subject to the



                                             Page 31 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 32 of 46 PageID #: 32




provisions of sections 407.010 to 407.140, unless otherwise specifically provided in sections

407.600 to 407.630.

       164.    Section 407.025.1 of the M.M.P.A provides, in pertinent part: “The act, use or

employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, unfair practice or the concealment, suppression, or omission of any material

fact in connection with the sale or advertisement of any merchandise in trade or

commerce…in…the state of Missouri, is declared to be an unlawful practice.”

       165.    Defendants constitutes “persons,” as defined by Section 407.010(5) of the Act, and

as referenced in Section 407.025.1 of the Act.

       166.    Defendants have sold and/or financed “merchandise” in “trade” or “commerce” in

the State of Missouri, as those terms are defined by Section 407.010 of the Act. Specifically,

Defendants have sold and/or leased timeshares, a type of merchandise under the Act, in their trade

and commerce in the State of Missouri.

       167.    In selling and financing timeshares in the State of Missouri, Defendants have used

or employed deception, fraud, false pretense, false promise, misrepresentation, unfair practice or

the concealment, suppression, or omission of material facts relating to its merchandise, all in

violation of the Act. Specifically, Defendants have engaged in unlawful practices in one or more

of the following ways:

               a.     Concealing, suppressing, and/or omitting material facts about the nature of

the timeshare purchase transaction.

               b.     Violating the duty of good faith in negotiating in solicitation, negotiation,

and performance in connection with the advertisement or sale of merchandise in violation of 15

C.S.R. 60-8.040.



                                          Page 32 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 33 of 46 PageID #: 33




               c.      Advertising, marketing, and/or promoting Time-share interests for sale to

Plaintiffs and the Class as a legally adequate timesharing plan.

               d.      Providing or assisting in obtaining financing through predatory lending to

facilitate the purchase of timeshares to Plaintiffs and The Class; and

               f.      Other actions which will be further discovered.

       168.    Defendants knew at the time the timeshare interests were sold to the Plaintiffs and

the Class that the ability to use and enjoy the timeshare properties was limited by Defendants

policies and procedures.

       169.    Section 407.025.1 of the Act further provides, in pertinent part:

       “Any person who purchases…merchandise primarily for personal, family or household

purposes and thereby suffers an ascertainable loss of money…as a result of the use or

employment by another person of a method, act or practice declared unlawful by section

407.020, may bring a private civil action in either the circuit court of the county in which the

seller…resides or in which the transaction complained of took place, to recover actual damages.

The court may, in its discretion, award punitive damages and may award to the prevailing party

attorney’s fees…and may provide such equitable relief as it deems necessary and proper.”

       170.    At all relevant times, Plaintiffs purchased the timeshares at issue for “personal

family or household purposes.”

       171.    Defendants intended that Plaintiffs and other members of the Class detrimentally

relied on their misrepresentations and omissions.

       172.    As a proximate result of Defendants’ misrepresentations, omissions and unlawful

practices, and the Plaintiffs’ detrimental reliance thereon, Plaintiff and other members of the Class

suffered an ascertainable loss of money by paying, and financing, the purchase price of a timeshare



                                           Page 33 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 34 of 46 PageID #: 34




As such, Plaintiffs and other members of the Class are entitled to bring this action to recover, inter

alia, their actual damages, punitive damages, and attorneys’ fees available under the Act.

        173.   At all times herein, Defendants intentionally engaged in the unlawful practices

enumerated above. Further, Defendants acted in reckless or conscious disregard of the interests of

Plaintiffs and other Class members, perpetrating their unlawful practices in a willful, wanton, and

malicious manner, such that an imposition of punitive damages is warranted.

                               COUNT II-UNJUST ENRICHMENT
                                   (Against all Defendants)

        174.      Plaintiffs repeat and incorporate by reference each of the foregoing allegations of

this Complaint.

        175.   Plaintiffs conferred benefits upon Orange Lake Resorts in the form of down

payments, monthly mortgage payments, recurring maintenance fee payments, and additional fee

and membership payments for property at the Resort and membership in Orange Lakes Resorts’

timeshare and other programs.

               a.       Those payments were made with the reasonable expectation that

Defendants were selling timeshare properties that could be used and enjoyed by Plaintiffs as

represented by Defendants’ agents, and that Defendants were complying with the Missouri

Merchandising Practices Act, The Missouri Time-Sharing Regulation.

               b.       It would be unjust to permit Defendants to keep the payments made by

Plaintiffs because Defendants induced Plaintiffs to make those payments by failing to disclose

the facts material to the transactions.

               c.       Plaintiffs, on behalf of themselves and the proposed Class, seek

restitution.




                                            Page 34 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 35 of 46 PageID #: 35




          COUNT III-FRAUDULENT MISREPRESENTATION BY OMISSION
                           (Against all Defendants)

       176.    Plaintiffs repeat and incorporate by reference each of the foregoing allegation of

this Complaint.

       177.    Defendants engaged in a high-pressure sales pitch designed to induce Plaintiffs to

make a significant financial decision in a short time span with inaccurate information.

               a.      Defendants represented to the Plaintiffs that as timeshare owners, they

would have no difficulty using their timeshare and would have ample access to reservations.

               b.      Defendants were required to disclose to each party to the transaction any

adverse facts of which they had actual notice or knowledge, and timely and accurate information

regarding market conditions that might affect the transaction; and they were required to provide

services to each party to the transaction with honesty and good faith.

               c.      Defendants utilized a scheme to confuse consumers regarding their rights

and avoid making required disclosures of material fact while selling the timeshares to Plaintiffs.

               d.      In carrying out the above-described scheme and failing to make the above

described disclosures and/or intentionally avoiding them so that the Plaintiffs would not see them,

the Defendants fraudulently omitted material information, fraudulently induced the Plaintiffs to

remain in the contract through the rescission period, and generally defrauded the Plaintiffs.

               e.      Defendants’ intended for the Plaintiffs to rely on its representations of

material fact when the Plaintiffs purchased timeshare interests, and Plaintiffs did indeed rely on its

representations.

       178.    Defendants knew, or should have known, that they were omitting and failing to

make certain required disclosures. The omissions described herein were material in nature and

were made to induce the Plaintiffs to enter a contract and purchase a time-share interest. Plaintiffs

                                           Page 35 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 36 of 46 PageID #: 36




reasonably and justifiably relied upon Defendants’ representations that omitted material facts in

deciding to purchase the time-share interests.          Defendants knew of the falsity of the

representations, or had utter disregard for their truth, when they were made. Defendants intended

to induce reliance upon the representations.          Plaintiffs were entitled to rely upon the

representations, since the representations concerned complex matters of Holiday Inn programs and

real estate law. Plaintiffs’ reliance was reasonable under the circumstances.

       179.    Plaintiffs were injured and damaged by virtue of their reasonable reliance on these

representations containing omissions. Had Plaintiffs known the truth, they would not have

purchased the timeshares.

       180.    Defendants’ omissions were intentionally made for the purpose of inducing the

Plaintiffs to enter a contract, close the sale, and remain in the contract without knowing about their

rescission rights. Defendants sales agents work on commission and received commissions from

the sale to the Plaintiffs. In the alternative, if the Defendants’ omissions were not intentional, they

were grossly negligent, as the Defendants knew or should have known the truth regarding

Defendants, its policies, and its procedures.

       181.    At all times relevant, the sales agents and other individuals described herein were

acting as agents of Defendants, and their actions, which were performed in the scope of their

employment with Defendants, are attributable to Defendants pursuant to the doctrine of respondent

superior.

       182.    For all the reasons set forth herein, the Plaintiffs were induced to purchase a time-

share interest from Defendants by fraud. The omissions of material fact, combined with the high-

pressure sales pitch, and the confusing nature of the written documents between the parties were




                                            Page 36 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 37 of 46 PageID #: 37




all part of a scheme devised to induce the Plaintiffs to buy a time-share from Defendants at

substantial cost to the Plaintiffs without complying with Missouri law.

       183.    The sale, and any contract between the parties, should be rescinded, with all sums

paid returned to the Plaintiffs and with the time-share interest returned to Defendants. In addition,

the Plaintiffs should recover all damages and other relief to which they are entitled, including

punitive damages, which are warranted for the intentional deceptive, unfair, and fraudulent

conduct of the Defendants.

                        COUNT IV-FRAUD IN THE INDUCEMENT
                                (Against all Defendants)

       184.    Plaintiffs repeat and incorporate by reference each of the foregoing allegations of

this Complaint.

       185.    Defendants engaged in a high-pressure sales pitch designed to induce the Plaintiffs

to make a significant financial decision in a short time span with inaccurate information.

       186.    Defendants had an affirmative duty under Missouri Merchandising Practices Act,

Mo. Code Ann. § 407.010, et seq., the Missouri Time-Sharing Regulation, Mo. Ann. Stat. §

407.600, et seq. herein. Defendants were required to fully and accurately disclose factual

information about the property and the purchaser’s rights with respect thereto, including but not

limited to: the type and number of units, a budget and information regarding fees that will be

charged, specific language informing the purchaser of his, her, or their right to rescind the

agreement, and a public offering statement, which if not received by the purchaser renders the

contract voidable.

       187.    The Defendants were required to disclose to each party to the transaction any

adverse facts of which they had actual notice or knowledge, and timely and accurate information




                                           Page 37 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 38 of 46 PageID #: 38




regarding market conditions that might affect the transaction; and they were required to provide

services to each party to the transaction with honesty and good faith.

       188.    By utilizing a scheme to avoid making the above-described disclosures and/or

intentionally hiding them so that the Plaintiffs would not see them, the Defendants fraudulently

omitted material information, fraudulently induced the Plaintiffs to remain in the contract through

the rescission period, and generally defrauded the Plaintiffs.

       189.    Defendants knew, or should have known, that they were omitting and failing to

make required disclosures. The omissions described herein were material in nature and were made

to induce the Plaintiffs to enter a contract and purchase a time-share interest. Plaintiffs reasonably

and justifiably relied upon Defendants’ representations that omitted material facts in deciding to

purchase the time-share interests. Defendants knew of the falsity of the representations, or had

utter disregard for their truth, when they were made. Defendants intended to induce reliance upon

the representations.    Plaintiffs were entitled to rely upon the representations, since the

representations concerned complex matters of Defendants’ programs and real estate law.

Plaintiffs’ reliance was reasonable under the circumstances.

       190.    Plaintiffs were injured and damaged by virtue of their reliance on these

representations containing omissions. Had Plaintiffs known the truth, they would not have

purchased the time-shares.

       191.    Defendants’ omissions were intentionally made for the purpose of inducing the

Plaintiffs to enter a contract, close the sale, and remain in the contract without knowing about their

rescission rights. Defendants’ sales agent work on commission and received commissions from

the sale to the Plaintiffs. In the alternative, if the Defendants’ omissions were not intentional, they




                                            Page 38 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 39 of 46 PageID #: 39




were grossly negligent, as the Defendants knew or should have known the truth regarding

Defendants, its policies, and its procedures.

       192.    At all times relevant, the sales agents and other individuals described herein were

acting as agents of Defendants, and their actions, which were performed in the scope of their

employment with Defendants are attributable to Defendants pursuant to the doctrine of respondent

superior.

       193.    For all of the reasons set forth herein, the Plaintiffs were induced to purchase a

time-share interest from Defendants by fraud. The omissions of material fact, combined with the

high-pressure sales pitch, and the confusing nature of the written documents between the parties

were all part of a scheme devised to induce the Plaintiffs to buy a time-share from Defendants at

substantial cost to the Plaintiffs without complying with Missouri law.

       194.    The sale, and any contract between the parties, should be rescinded, with all sums

paid returned to the Plaintiffs and with the time-share interest returned to Defendants. In addition,

the Plaintiffs should recover all damages and other relief to which they are entitled, including

punitive damages, which are warranted for the intentional deceptive, unfair, and fraudulent

conduct of the Defendants.

              COUNT V-NEGLIGENT MISREPRESENTATION BY OMISSION
                             (Against All Defendants)

       195.    Plaintiffs repeat and incorporate by reference each of the foregoing allegations of

this Complaint.

       196.    Defendants’ sales agents are governed by the Missouri Merchandising Practices

Act, the Missouri Time-Sharing Regulation.

       197.    Section 407.025.1 of the M.M.P.A provides, in pertinent part: “The act, use or

employment by any person of any deception, fraud, false pretense, false promise,

                                           Page 39 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 40 of 46 PageID #: 40




misrepresentation, unfair practice or the concealment, suppression, or omission of any material

fact in connection with the sale or advertisement of any merchandise in trade or

commerce…in…the state of Missouri, is declared to be an unlawful practice.”

       198.    The Missouri Time-Sharing Regulation, Mo. Ann. Stat. § 407.625, requires the

timeshare professional, prior to the execution of any contract between the purchaser and the

timeshare developer, to deliver to the purchaser certain information, and the purchaser shall certify,

in writing, to the receipt of such written information. As relevant to this lawsuit, the required

information includes:

               a.       A complete and accurate description of all limitations, restrictions, or

priorities employed in the operation of the exchange program, including, but not limited to,

limitations on exchanges based on seasonality, unit size, or levels of occupancy, expressed in

boldfaced type, and, in the event that such limitations, restrictions, or priorities are not uniformly

applied by the exchange program, a clear description of the manner in which they are applied;

               b.       The number of units in each property participating in the exchange program

which are available for occupancy and which qualify for participation in the exchange program,

expressed within the following numerical groupings: 1-5, 6-10, 11-20, 21-50, and 51 and over;

and;

               c.       The number of owners with respect to each time-share plan or other

property which are eligible to participate in the exchange program expressed within the following

numerical groupings: 1-100, 101-249, 250-499, 500-999, and 1,000 and over; and a statement of

the criteria used to determine those owners who are currently eligible to participate in the exchange

programs.




                                           Page 40 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 41 of 46 PageID #: 41




       199.    Defendants and their sales agents knew, among other facts described herein, that

Plaintiffs and proposed class members were not buying a share in a specific unit but were instead

buying into a “floating use plan”; that Plaintiffs and proposed class members would not be able to

use a Resort property when desired due to Defendants’ artificial restriction of availability. They

failed to adequately disclose these material facts to Plaintiffs, as more fully described herein.

       200.    Defendants and their sales agents did this for their own pecuniary benefit, in the

form of commissions and increased payments to Defendants.

       201.    Defendants’ omissions of material fact described herein constituted material

inducements to Plaintiffs and proposed class members to purchase timeshare properties, to pay

other charges and fees at the time of purchase, to upgrade to purportedly superior properties, and

to pay charges and fees during the period of ownership.

       202.    Plaintiffs were entitled to rely upon the representations of the Defendants and their

sales agents, given the respective position of the parties and the duties owed by real estate licensees

and sellers of real property. Ordinary diligence by Plaintiffs would not have revealed the

undisclosed facts.     Plaintiffs and proposed class members were induced to act by the

representations of Defendants and their sales agents, and did act, in ignorance of the falsity of the

representations and with a reasonable belief that the representations were true. Plaintiffs’ reliance

was reasonable and justifiable, and caused them to be damaged.

       203.    At the time, the statements omitting material facts were made, Defendants and their

sales agents knew that they were false. In short, Defendants and their sales agents deceived the

Plaintiffs intentionally and for the purpose of closing the sale, for the benefit of themselves (via

their commissions) and for the benefit of Defendants, breaching duties owed to Plaintiffs and

proposed class members.



                                            Page 41 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 42 of 46 PageID #: 42




       204.    For all these reasons, the Contract should be rescinded, and Defendants should be

liable for the damages they have caused Plaintiffs, and for punitive damages.

                             COUNT VI-UNCONSCIONABILITY
                                 (Against all Defendants)

       205.    Plaintiffs repeat and incorporate by reference each of the foregoing allegations of

this Complaint.

       206.    Plaintiffs and members of the proposed class entered into contracts with Defendants

to purchase timeshare properties at the various Resorts.

       207.    If a contract is unfair or oppressive to one party in a way that suggests abuses during

its formation, a court may find it unconscionable and refuse to enforce it. A contract is most likely

to be found unconscionable if both unfair bargaining and unfair substantive terms are shown. An

absence of meaningful choice by the disadvantaged party is often used to prove unfair bargaining.

       208.    Missouri law states in Section 400.2-302. (1) “If the court as a matter of law finds

the contract or any clause of the contract to have been unconscionable at the time it was made

the court may refuse to enforce the contract, or it may enforce the remainder of the contract

without the unconscionable clause, or it may so limit the application of any unconscionable

clause as to avoid any unconscionable result.”

       (2) “When it is claimed or appears to the court that the contract or any clause thereof

may be unconscionable the parties shall be afforded a reasonable opportunity to present

evidence as to its commercial setting, purpose and effect to aid the court in making the

determination.”

       209.    There are procedural and substantive aspects to unconscionability.




                                           Page 42 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 43 of 46 PageID #: 43




       210.    Procedural unconscionability relates to the formalities of the making of an

agreement and encompasses, for instance, fine print clauses, high pressure sales tactics or unequal

bargaining positions.

       211.    The test for unconscionability as a balancing test or “sliding scale” between the

substantive and procedural aspects.

       212.    This general rule provides an acceptable analytical framework for most cases

because a party who employs procedurally unconscionable bargaining tactics usually does so with

the goal of inducing the other party into a one-sided contract.

       213.    Nonetheless, there are cases in which a contract provision is sufficiently unfair to

warrant a finding of unconscionability on substantive grounds alone.

       214.    The contracts the Plaintiffs signed were both procedurally and substantively

unconscionable.    Not only the one-sidedness of the contracts, but also the conduct of the

Defendants and their agents, and its effects on the Plaintiffs’ ability to negotiate with the

Defendants, render these contracts unconscionable.

       215.    As a result of the Defendants’’ unconscionable behavior, the contracts should be

rescinded, and Defendants should be liable for the damages they have caused Plaintiffs and

proposed class embers, and for punitive damages.

                                  COUNT VII-CIVIL CONSPIRACY
                                      (Against all Defendants)

       216.    Plaintiffs repeat and incorporate by reference each of the foregoing allegations of

this Complaint.

       217.    Defendants agreed to join a conspiracy related to defrauding consumers in the

purchase of timeshare properties seemingly, but not actually, in compliance with the law of

Missouri.

                                           Page 43 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 44 of 46 PageID #: 44




       218.    Each Defendant exercised control over each other Defendant and/or all Defendants

were under common control in ways that will be revealed during discovery through the production

of evidence that is presently in the exclusive control of Defendants.

       219.    The conspiracy had a common design, jointly and knowingly established by

Defendants acting through their agents and employees.

       220.    Defendants knew that the object of this conspiracy was to market and sell timeshare

properties to Plaintiffs and proposed class members, without adequately disclosing, among other

material facts described herein, that Plaintiffs and proposed class members were not buying a share

in a specific unit but were instead buying into a “floating use plan”; that Plaintiffs and proposed

class members would not be able to use a Resort property when desired due to Defendants’

artificial restriction of availability; and that Plaintiffs and proposed class members had a right to

rescind their timeshare purchase under Tennessee law. The objects of the conspiracy were fraud,

breach of contract, unjust enrichment, negligent misrepresentation, and/or violations of the

Missouri Time-Sharing Regulations, as described more fully herein. Defendants knew that these

objects were unlawful and would be accomplished by unlawful means such as fraud,

misrepresentations, and omissions.

       221.    Defendants had a meeting of the minds on the object of or course of action for this

conspiracy. Defendants knew and agreed upon the unlawful object or course of action for this

conspiracy. Defendants also knew that their wrongful actions would inflict injury upon the targets

of the conspiracy, including Plaintiffs.

       222.    As described above, Defendants committed multiple unlawful and overt acts to

further the object or course of action for this conspiracy as described above.




                                           Page 44 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 45 of 46 PageID #: 45




          223.   These unlawful acts proximately caused the damages suffered by Plaintiffs.

Accordingly, Plaintiffs are entitled to recover their actual damages, plus costs, attorneys’ fees, and

pre-judgment interest and post-judgment interest.

                                      PRAYER FOR RELIEF

In light of the foregoing, Plaintiffs respectfully request:

          1.     That an injunction be issued declaring that Plaintiffs have a right to rescind the

timeshare purchase contracts and that Defendants must disgorge profits received from them; and

enjoining Defendants from using folders containing secret pockets, utilizing a “delayed closing”

deed delivery system that invites fraud, violating the Missouri Merchandising Practices Act,

Missouri Timeshare Regulations, as applicable in each case, continuing to breach the contracts

described herein, and specifically from selling timeshare properties while restricting purchasers’

ability to use them, failing to disclose that their availability is limited, and failing to disclose that

purchasers have a right to rescind their purchase.

          2.     Judgment to be entered against all Defendants on all causes of action and

damages suffered.

          3.     Plaintiffs be awarded the full, fair, and complete recovery for all causes of action

and damages suffered.

          4.     Plaintiffs be awarded rescission of their timeshare contracts, damages, punitive

damages, restitution, attorneys’ fees, and costs.

          5.     Plaintiffs be awarded all appropriate costs, fees, expenses, and pre-judgment and

post-judgment interest, as authorized by law; and such other relief that the Court deems just and

proper.




                                             Page 45 of 46
 Case: 4:20-cv-01463-MTS Doc. #: 1 Filed: 10/09/20 Page: 46 of 46 PageID #: 46




                                    JURY TRIAL DEMAND
    Plaintiffs request a jury trial on all questions of fact raised by this Complaint.


Dated: October 9, 2020



                                              Respectfully submitted,

                                              By:      /s/Timothy S. O’Grady
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                                           Page 46 of 46
